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U.S. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
IN THE UNITED STATES DISTRICT COURT;——PLLEP
FOR THE NORTHERN DISTRICT OF TEXAS

FORT WORTH DIVISION APR - 8 2014

CLERK, U.S. DISTRICT COURT
UNITED STATES OF AMERICA *y Doty

Vv. No. 4:14-MJ- / 14

AARON MCMAHAN

CRIMINAL COMPLAINT

Possession of a Controlled Substance with Intent to Distribute

On or about February 19, 2014, in the Fort Worth Division of the Northern
District of Texas, and elsewhere, defendants Aaron McMahan, did knowingly and
intentionally possess with intent to distribute 50 grams or more of a mixture and

substance containing a detectable amount of methamphetamine, a schedule II controlled
substance, in violation of 21 U.S.C. § 841(a)(1) & (b)(1)(B).

I, the undersigned Complainant, being duly sworn, state the following is true and
correct to the best of my knowledge and belief:

1. Affiant, Shayne Kotara, is a detective with the North Richland Hills Texas Police
Department and has been assigned as a Task Force Officer, TFO, with the Fort
Worth Resident Office, FWRO, of the Drug Enforcement Administration, DEA,
since August 2011. I have previously investigated federal violations of Title 21,
United States Code, Sections 841(a) (1), 846, 848, & 843(b).

2. On January 30, 2014, Affiant and other members of the Fort Worth R.O.
interviewed Cooperating Source #1, hereafter referred to as CS#1. CS#1 stated
he/she has bought methamphetamine multiple times from Aaron McMahan and
has seen Aaron McMahan with one (1) ounce of methamphetamine on several
occasions.

3. On February 19, 2014, under the direction and control of law enforcement, CS#1
conducted a controlled buy of half (4) an ounce of methamphetamine from Aaron
McMahan. Officer’s provided the CS#1 with a predetermined amount of U.S.

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Currency for the purchase of the methamphetamine. Officer’s maintained
surveillance of CS#1 as he/she met with Aaron McMahan. The CS#1 then met
with the officer’s and surrendered a plastic baggie containing a crystalline
substance which field tested positive for methamphetamine. The CS#1 stated the
methamphetamine was purchased from Aaron McMahan.

4. On February 27, 2014, Affiant and other members of the Fort Worth R.O.
interviewed Cooperating Source #2, hereafter referred to as CS#2. CS#2 stated
he/she has bought a quarter (4) ounce of methamphetamine ten (10) times from
Aaron McMahan and bought a half (14) ounce four (4) times. CS#2 has seen
Aaron McMahan with up to four (4) ounces of methamphetamine.

5. On March 5, 2014, under the direction and control of law enforcement, CS#1
conducted a controlled buy of one and % (1% ) ounce of methamphetamine from
Aaron McMahan. Officer’s provided CS#1 with a predetermined amount of U.S.
Currency for the purchase of the methamphetamine. Officer’s maintained
surveillance of CS#1 as he/she met with Aaron McMahan. CS#1 then met with
the officer’s and surrendered a plastic baggie containing a crystalline substance
which field tested positive for methamphetamine. CS#1_ stated the
methamphetamine was purchased from Aaron McMahan.

6. Although I have not listed all the facts regarding this seizure of
methamphetamine, I believe that the facts stated here establish probable cause that
the defendant has committed a violation of Title 21, United States Code, Section
841(a)(1) and (b)(1)(B), Possession of a Controlled Substance with the Intent to

Distribute.

Shayn€ Kotara
Task Force Officer
Drug Enforcement Administration

SWORN AND SUBSCRIBED before me, at A,X am@th this st day of April, 2014
in Fort Worth, Texas.

2 bow)
JEFF SOCKION

United States Magistrate Judge

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